Case 23-10330-amc     Doc 10      Filed 02/21/23 Entered 02/21/23 13:08:05   Desc Main
                                  Document Page 1 of 1



                      UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA


In re                                        :         Chapter 13

                                             :
Barry Jay Esterman
                                             :

                     Debtor                  :         Bankruptcy No. 23-10330-amc


                                         ORDER

             AND NOW, it is ORDERED that since the debtor(s) have failed to timely

file the documents required by the order dated February 3, 2023 and this case be and the

same is hereby DISMISSED.




  Dated: February 21, 2023                             Honorable Judge Ashely M. Chan
                                                       United States Bankruptcy Judge

Missing Documents:
                              Certificate of Credit Couseling
                              Matrix
                              Chapter 13 Plan
                              Scheduled AB-J
                              Statement of Financial Affairs
                              Summary of Assets and Liabilities
                              Chapter 13 Statement of Your Current Monthly Income
                              Means Test Calculation
